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                                        Audit - 22/27 81.48%

                  Question                      Response              Details

  Are accessible spaces identified with a                  No signs
  sign that include the International
  Symbol of Accessibility? [502.6a]




     Appendix 1       Appendix 2



  Is the bottom of each sign at least 60"                  No signs
  inches above the ground? [502.6b]




     Appendix 3       Appendix4



  Are there signs reading "Van Accessible"                 No signs
  at van accessible spaces? [502.6c]




     Appendix 5       Appendix 6



  Are accessible spaces at least 8 feet wide?
  [502.2]
                                                  Yes

  Does every accessible space have an
  access aisle at least 5 feet wide? [502.3a]
  *Note that two spaces may share an
                                                  Yes
  access aisle between them




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 ADA Comnli;mce Tnsnection-Undr:ited
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                  Question                     Response   Details

  Are the access aisles marked so as to
  discourage parking in them? [502.3.3]
  *Every accessible space must adjoin an         Yes
  access aisle that is marked/hashed to
  distinguish it as an access aisle.

  Do the access aisles adjoin an accessible
  route? [502.3b]                                Yes

  Of the total parking spaces, are the
  accessible spaces located on the closest
  accessible route to the accessible
  entrance(s)? [208.3.1]
                                                 Yes
  *If parking serves multiple entrances,
  accessible parking should be dispersed.

  If the accessible route to the entrance
  crosses a curb, is there a curb ramp?          Yes
  [402.2]

  Is the curb ramp compliant? (less than 8.4
  degrees)
  *Is the cross slope of the curb ramp,          Yes
  excluding flares, no steeper than 1:48? [
  405.3]

  Is the entry door equipped with
  hardware that is operable with one
  hand-- does not require tight grasping,        Yes
  pinching, or twisting of the wrist?
  [404.2.7]

  Are aisles and pathways to goods and
  services, and to one of each type of sales
  and service counters, at least 36 inches       Yes
  wide? [403.5.1 a]

  Is there an accessible route to the
  accessible toilet room? [206.2.4]              Yes
  *Aisle/path with 36 inches of clearance

  Is the stall/bathroom door equipped with
  hardware that is operable with one hand
  -- does not require tight grasping,
  pinching, or twisting of the wrist?
                                                 Yes
  (including door handle and lock - if
  provided) [404.2.7b]




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                   Question                       Response   Details

  Can you enter the accessible stall while in
  the wheelchair?
  *Is the door opening width at least 32
  inches wide, between the face of the door         Yes
  and the stop, when the door is open 90
  degrees? [604.7.1.2]

  Is there a clear path to at least one of
  each type of fixture, e.g. lavatory, hand
  dryer, etc., that is at least 36 inches wide?     Yes
  [403.5.1 b]

  Is there a clearing of 30"x 48"
  unobstructed by the swing of the door?            Yes
  [603.2.3]

  Is the soap dispenser compliant?
  A-No, Sink is less than 20 inches deep and
  the dispenser is mounted higher than 48
  inches
  B-No, Sink is more than 20 inches deep
  and the dispenser is mounted higher
  than 44 inches                                    Yes
  C-No, the counter/sink is over 25 inches
  deep and dispenser is mounted over
  sink/counter
  D- No, the dispenser is not over an
  obstruction and is mounted higher than
  48inches

  Is the paper towel dispenser compliant?
  E-No, Sink is less than 20 inches deep and
  the dispenser is mounted higher than 48
  inches
  F-No, Sink is more than 20 inches deep
  and the dispenser is mounted higher
  than 44 inches                                    Yes
  G-No, the counter/sink is over 25 inches
  deep and dispenser is mounted over the
  sink/counter
  H-No, the dispenser is not over an
  obstruction and is mounted higher than
  48inches




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                   Question                             Details

  Is the height of the toilet bowl between
  17"-19"?
  *Is the height of the water closet no less
  than 17 inches and no greater than 19
  inches above the floor measured to the
  top of the seat? [604.4]




     Append ix 7



  Is the toilet flush on the open side of the
  toilet?
  *Is the flush control on the open side of      Yes
  the toilet? [604.6]

  If the mirror is over a lavatory or counter
  top, is the bottom edge of the reflecting
  surface no higher than 40 inches above
  the floor?
  -OR-
  If the mirror is not over the lavatory or
  counter top, is the bottom edge of the
  reflecting surface no higher than 35
  inches above the floor? [603.3]




     Appendix 8



  Is the top of the front of at least one sink
  shorter than 34" from the ground?*Is the
  front of the lavatory or counter surface,      Yes
  whichever is higher, no more than 34
  inches above the floor? [606.3]




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                  Question                       Response    Details

  Is the bottom of at least one sink no
  lower than 27" from the ground and
  contain at least 8" of clearance from the
  front edge, to any obstruction , under the
  counter, for knee space?
  *Is there at least 27 inches clearance               Yes
  from the floor to the bottom of the
  lavatory that extends at least 8 inches
  under the lavatory for knee clearance?
  [306.3.3]

  Can the faucet be operated without tight
  grasping, pinching, or twisting of the               Yes
  wrist? [606.4]

  Is there at least 1 sink where a chair can
  pull up under the sink? (With a clearing of
  30"x48")
  *Does at least one lavatory have a clear             Yes
  floor space for a forward approach at
  least 30 inches wide and 48 inches long?
  [606.2]

  Are the pipes under the sink, if exposed,
  insulated/padded or configured to                    Yes
  protect against contact? [606.5]

  Pictures of All violations/ or compliant locations




     Appendix 9




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 ADA Comnli;mce Tnsnection-Undrited
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                                         Media




                   Appendix 1                    Appendix 2




                   Appendix 3                    Appendix 4




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                   Appendix 5                    Appendix 6




                   Appendix 7                    Appendix 8




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                  Appendix 9




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                                    Account Number: R0439858
                                    Account Type: Commercial
                                    Actual Value: $1, 191 1 870.00
                                    Ta x Rate: 6.5990%
                                    Leg.al Description: LOT 2F METZLER
                                    RANCH FILING 3 1ST AMENDMENT 0.98
                                    AM/L
                                    Township & Range: T7S 8c R67W
                                    Section: 26
                                    Assessment Details
                                    Property Tax Details
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312 METZLER DR #D                              (207 7 Data)                                   P0511316




Account Information
Owner Name:            KAI INC ATTN HYOK JU KIM-     Actual Value:            $51,440
                       KAI
Owner Address:         312 METZLER DR STE D          Assessed Value:          $14,920
                       CASTLE ROCK, CO 80108
                                                     Tax Rate:                6.5990%
Property Type:         N/A                           Estimated Taxes:         $985




Building Information
Style:                          N/A                  Basement Finished SqFt:            N/A
Main Square Footage:            0 sqft               Basement Finished Percent:         0%
Total Basement Area:            N/A
Total Finished Area:            0 sqft               Garage Square Footage:             0 sqft
Year Built:                     N/A                  Bedroom Count:                     N/A
Stories:                        N/A                  Bathroom Count:                    N/A




Location Description:
Description:                    N/A
Acreage:                        0
State Parcel Number:            2351-263-07-008




  Account#:P0511316                                              st. Parcel#: 23s1-263-01-1os
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                              OFFICE OF THE SECRETARY OF STATE
                                  OF THE STATE OF COLORADO

                 CERTIFICATE OF DOCUMENT FILED
    I, Wayne W. Williams, as the Secretary of State of the State of Colorado, hereby certify that, according to
    the records of this office, the attached document is a true and complete copy of the
                                                                      Report


                                                   with Document# 20161425571 of
                                                                      Kai Inc

                                                            Colorado Corporation


                                                       (Entity ID # 20131401083 )

    consisting of 2          pages.

    This certificate reflects facts established or disclosed by documents delivered to this office on paper through
    01125/2017 that have been posted, and by documents delivered to this office electronically through
    01/26/2017@ 10:18:18.

    I have affixed hereto the Great Seal of the State of Colorado and duly generated, executed, and issued this
    official certificate at Denver, Colorado on 01/26/2017@ 10:18:18 in accordance with applicable law. This
    certificate is assigned Confirmation Number 10041887




                                                                                      Secretary of Stale: of die Sta te of Colorndo



     *********************************************End of Certificate*******************************************
     Notice: A certificate issued electronically fi·om the Colorado Secretary o[State 's Web site is fully and immediately valid and effective. However,
     as an option, the issuance and validity of a certificate obtained electronically may be established by visiting the Validate a Certificate page of
     the Secretary of State's Web site, http://www.sos.state.co.uslbiz!CertificateSearchCriteria.do entering the certificate's confirmation number
     displayed on the certificate, and.following the instructions displayed. Con/inning the issuance o(a certificate is merelv optional and is not
     necessary to the valid and effective issuance of a certificate. For more information, visit our Web site, http://www.sos.state.co.usl click
      "Businesses, trademarks, trade names " and select "Frequently Asked Questions."
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                                                                               Colorado Secretary of State



                                                     '''*'
                                                                               Date and Time: 06/23/2016 12:26 PM
    Document must be filed electronically.
                                                                               ID Number: 20131401083
    Paper documents are not accepted.
    Fees & forms are subject to change.                                        Document number: 20161425571
    For more information or to print copies                                    Amount Paid: $10.00
    of filed documents, visit www.sos.state.co.us.

                                                                                                        ABOVE SPACE FOR OFFICE USE ONLY



                                                     Periodic Report
              filed pursuant to §7-90-301, et seq. and §7-90-501 of the Colorado Revised Statutes (C.R.S)

    ID number:                                 20131401083

    Entity name:                               Kai Inc

    Jurisdiction under the law of which the
    entity was formed or registered:           Colorado


    1. Principal office street address:        11963 E Lake Cir
                                                                             (Street name and numbe1~


                                               Greenwood Village                           CO        80111
                                               --------'=-----
                                                     (City)    (State)                                        (Postal/Zip Code)
                                                                                         United States
                                                       (Province - if applicable)        (Country- [{not US)

    2. Principal office mailing address:
       (if different from above)                              (Street name and number or Post Office Box information)




                                                                 (City)                    (State)            (Postal/Zip Code)

                                                      (Province - if applicable)         (Cou11t1y- if not US)

    3. Registered agent name: (if an individual) Kim                                Hyok ju
                                                              (Last)                    (First)                  (Middle)          (Sujfu:)

                   or   (if a business organization) - - - - - - - - - - - - - - - - - - - - - - - -

    4. The person identified above as registered agent has consented to being so appointed.

    5. Registered agent street address:        11963 E Lake Cir
                                                                             (Street name and number)


                                               Greenwood Village
                                               --------=----~
                                                                                            co          80111
                                                                                                        --- -------
                                                                 (City)                    (State)        (Postal/Zip Code)



    6. Registered agent mailing address:
       (if different from above)                              (Street name and number or Post Office Box infonnation)




                                                                 (City)                    (State)             (Postal/Zip Code)

                                                       (Province - if applicable)      (Country- if not US)
